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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE
PRODUCTS LIABILITY LITIGATION

MDL NO. 1873

SECTION "N-5"

THIS DOCUMENT IS RELATED TO: MAG. JUDGE CHASEZ

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* JUDGE ENGELHARDT
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ALL CASES :
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STATE OF LOUISIANA |}
PARISH OF ORLEANS | }
AFFIDAVIT
BEFORE ME, the undersigned Notary Public, personally came and appeared,
John K. Etter
a person of the full age of majority domiciled in the State of Louisiana, and licensed to
practice law in the State of Louisiana, who, after being duly sworn by me, did depose and state

the following, upon personal knowledge:

1. I am a member and partner of the Rodney & Etter, LLC law firm (hereinafter referred to
as "R&E").
2. Rodney & Ettter's attorneys are experienced in complex litigation and have participated

in numerous civil rights and voting rights lawsuits, including Chisom v. Roemer, 501 U.S.
380, 111 S.Ct. 2354 (1991) which resulted in changing the districts for the Louisiana

Supreme Court, Jones v. Edwards, 674 F.Supp. 1225 (E.D. La. 1987) and Louisiana

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Voter Registration Education Crusade, Inc. v. Office of the Registrar of Voters for the
Parish of Orleans, 511 So.2d 1190 (La. App. 4" Cir. 1987). Undersigned counsel also
represented plaintiffs on behalf of all New Orleans residents in the post-Katrina voting
rights action, Wallace v. Chertoff, No. 05-5519 (E.D. La. 2006).

John K. Etter, Roy J. Rodney, Jr. and the associate attorneys of Rodney & Etter have
represented defendants and plaintiffs in state and federal civil rights litigation, toxic tort
class actions, administrative and regulatory matters, government ethics, and intellectual
property litigation. They have been counsel to local and state governments, corporations,
and individuals.

During the time period for which Rodney & Etter is seeking common benefit fees and
expense reimbursement, Rodney & Etter's attorneys were admitted to the state courts of
Louisiana, the federal district courts in Louisiana and the United States appellate courts
for the United States Fifth and Sixth Circuits. Mr. Rodney was admitted to the bar in
1983. Mr. Etter was admitted in 1997.

Mr. Etter's present rate for complex litigation, class action defense and intellectual
property matters on behalf of private parties is $250.00 per hour. Mr. Rodney's present
rate for such matters and clients is $300.00 per hour. Their rates for public entities, non-
profit organizations and small businesses range from $125 to $250 per hour, depending
on the complexity of the matter and the client's financial situation.

I personally reviewed Rodney & Etter's time and expense records for this litigation and
personally submitted Rodney & Etter's time and expense records to the Bourgeois
Bennett accounting firm on December 21, 2011, pursuant to this Court's orders

(Exhibit 2).

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Rodney & Etter's time and expense records submitted to Bourgeois Bennett on December
21, 2011, are correct and accurate to the best of my knowledge, information and belief.
R&E's partners devoted 593.65 hours to the FEMA trailer formaldehyde litigation
between June 1, 2006 and March 23, 2008. Rodney & Etter's associate attorneys
provided 720.35 hours of common benefit work. R&E's paralegals spent 394.50 hours on
this litigation.

R&E paid $10,563.15 for formaldehyde testing, attendance at the Joint Panel on Multi-
District Litigation hearing, attending the Congressional Sub-Committee hearing on the
FEMA trailers, filing fees, experts and other expenses in this litigation, between June 1,
2006 and March 23, 2008, of which $1,414.40 has been paid from the manufactured
home settlement funds.

The facts contained in the attached Narrative Statement in Support of Rodney & Etter,
LLC's Request for Common Benefit Attorney's Fees and Reimbursement of Common
Benefit Expenses (Exhibit3) are true and correct to the best of my knowledge,
information and belief.

I graduated from Swarthmore College with a Bachelor of Science degree in engineering
in 1979, and worked for computer and medical equipment companies for 15 years, in the
areas of manufacturing engineering, quality engineering, reliability, regulatory affairs and
product safety, and am a registered professional engineer (Colorado). I obtained a juris
doctor degree from Tulane University Law School in 1997. I am admitted in state and

federal courts in Louisiana and Texas and am also a patent attorney.

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12. I have reviewed Rodney & Etter's Memorandum in Opposition to Motion of Co-Liaison
Counsel for Plaintiffs and PSC Members Mikal Watts and Robert Hillard to Approve
Proposed Common Benefit Fee Allocations.

13. The allegations of fact contained in the Rodney & Etter's Memorandum in Opposition to
Motion of Co-Liaison Counsel for Plaintiffs and PSC Members Mikal Watts and Robert
Hillard to Approve Proposed Common Benefit Fee Allocations are true and correct to the

best of my knowledge, information and belief.

pr! K. Etter =

Sworn to and subscribed before me, Notary Public,
in and for the Parish of Orleans, State of Louisiana,

on this a AL day of November, 2012.

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( ) NOTARY PUBLIC

James Dalton Courso:. .
State of Louisiana - Bar No. 2854.
My commission is issued for 11%

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